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                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


LISA BAKER, JACQUELINE
DOUGHTERY, KENYANNA
JONES, and AMELIA WELTNER,

     Plaintiffs,                          Case No. 1:23-cv-2999-MHC

v.

CITY OF ATLANTA and STATE
OF GEORGIA

     Defendants.



           DEFENDANT CITY OF ATLANTA’S RESPONSE
           TO MOTION FOR PRELIMINARY INJUNCTION

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         The U.S. Supreme Court has “uniformly recognized that a government unit

may legitimately restrict the right to participate in its political processes to those who

reside within its borders.” Holt Civic Club v. City of Tuscaloosa, 439 U.S. 60, 68–69

(1978). After the General Assembly enacted the Georgia Municipal Home Rule Act

in 1965 to give municipalities limited power to amend their charters (codified at

O.C.G.A. § 36-35-3), the City of Atlanta (“City”) adopted a political process to allow

its citizens to petition the City Council to place referendums on the municipal ballot.1

City of Atlanta Ordinance § 66-37. To comply with the Municipal Home Rule Act,

this ballot initiative ordinance imposes only two restrictions on signature collection:

(1) the signers of the petition must be registered Atlanta voters currently and at the

time of the last general municipal election and (2) an Atlanta resident must verify

that the signatures were collected within the city limits. Id. Plaintiffs do not contend

that they, as nonresidents of Atlanta, should be allowed to sign the petition, but they

do contend that the residency verification requirement violates their constitutional

right to free speech. It does not.




1
    As discussed below in section II, O.C.G.A. § 36-35-3 does not authorize citizen
    referendums to repeal most city ordinances, and thus the petition at issue here is
    void. However, in order to focus the argument on the core First Amendment issue,
    Section I assumes, arguendo, the proposed referendum is valid.
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       Atlanta’s ballot initiative ordinance does not prevent nonresidents from

talking to residents, soliciting signatures, funding the referendum effort, organizing

or conducting trainings, or any number of other speech and advocacy related efforts.

The ordinance does not restrict Plaintiffs’ participation in any material way—it

simply requires that a resident must also participate in a manner that allows them to

verify that the signatures were collected in compliance with the statutory

requirements. Because any burden imposed by this requirement is “light” and

“counterbalanced” by the “state interests supporting the ballot access scheme,” it is

“presumptively valid.” Burdick v. Takushi, 504 U.S. 428, 441 (1992). The Court

should deny Plaintiffs’ Motion for a Preliminary Injunction.

I.   Plaintiffs are not likely to succeed on the merits because the residency
     verification requirement does not violate their First Amendment rights.

       All election laws “invariably” impose “some burden” on the “right to

associate with others for political ends.” Burdick, 504 U.S. at 433. But because

“subject[ing] every voting regulation to strict scrutiny…would tie the hands of States

seeking to assure that elections are operated equitably and efficiently,” the Supreme

Court uses “a more flexible standard”: when a regulation imposes a “severe” burden

on First Amendment rights, courts should apply strict scrutiny, but when the

regulation imposes only “reasonable, nondiscriminatory” restrictions, a state’s

interest in structuring its elections is “generally sufficient to justify the restrictions.”
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Id. at 434. Indeed, states allowing ballot initiatives “have considerable leeway to

protect the integrity and reliability of the initiative process, as they have with respect

to election processes generally.” Buckley v. Am. Constitutional Law Found., 525 U.S.

182, 191 (1999).

      Notably, Plaintiffs do not discuss this standard at all. Instead, their brief quotes

only selective case language about strict scrutiny and summarily assumes that is the

correct framework for analyzing this ordinance. It is not. To the contrary, it is well

established that residency requirements are legitimate restrictions on participation in

the political process. Holt, 439 U.S. at 68–69 (collecting cases).

      There are two U.S. Supreme Court cases that directly address who can

circulate citizen referendum petitions: Meyer v. Grant, 486 U.S. 414 (1988) (states

cannot ban paid circulators) and Buckley, 525 U.S. 182 (limiting circulators to only

registered voters is unconstitutional). As discussed below, neither of these

controlling cases prohibit the type of residency requirement in the Atlanta ordinance.

Indeed, Buckley assumed, without deciding, that a residency requirement would be

constitutional. Buckley, 525 U.S. at 197.

       A. Strict scrutiny does not apply because the resident verification
          requirement does not infringe on nonresidents’ political speech.

      In Georgia, signatures on municipal ballot initiative petitions must satisfy two

statutory requirements: (1) the signatory must be a qualified voter and (2) the
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signature must be collected within the city limits. See O.C.G.A. § 36-35-3(b)(2)(C).

It is the City’s responsibility to verify the first requirement—that signers are

qualified voters. But because the City has no way to verify where the signatures were

collected, the statute assigns this verification requirement to a city resident. That is

a narrow and legitimate restriction on who can participate in the City’s political

process in that specific regard. Contrary to Plaintiffs’ hyperbolic assertion, the ballot

initiative ordinance does not prevent anyone from “participat[ing] in circulating a

referendum petition.”2 The residency restriction applies only to those who can verify

that the signatures were collected within the city limits. Because that verification

does not involve, let alone restrict, “interactive communication,” it is not “core

political speech.” Meyer, 486 U.S. at 421–22.

         In Meyer, the Supreme Court considered a Colorado law that prohibited

paying petition circulators. The plaintiffs argued that the ban impermissibly hindered

their efforts to collect signatures on the petition. Under the Colorado law, a circulator

was required to verify two things about the signer: that they are who their signature

claims to be and that they are a registered voter. Id. at 417. Verifying these two things

necessarily requires that the circulator interact personally with the signatory and this



2
    Pls’ Mot. for Prelim. Inj. at 1. [Dkt. 2–1].
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“interactive communication” is what the Supreme Court held to be “core political

speech.” Id. at 421–22. The Court then considered the burden imposed on the

petition coalition’s efforts to garner enough signatures to get the petition on the

ballot. Id. at 422–23. The Court reasoned the prohibition on paying circulators was

a significant burden because many supporters might not be able to go out and gather

signatures for financial reasons (e.g., childcare, work, or transportation). Id. at 23.

Because the ban in Meyer likely prohibited a significant number of people from

engaging in this interactive communication, the ban was unconstitutional.

         Unlike the definition of circulator in Meyer, Atlanta’s ballot initiative

ordinance does not require a circulator verify anything personal about the

signatory—it only requires that a city resident attest the collection process complied

with state law, i.e., that the signatures were collected within city limits. This

verification does not require a city resident to witness each signature, just that the

resident participate in the collection process in a way that enables them to make the

attestation.3 Thus, nonresidents are free to solicit and witness signatures, and there

is no limitation on their “interactive communication.” Because the residency


3
    The ordinance does not proscribe the manner of this participation, but one example
    is that a team of several circulators, including one Atlanta resident, could canvass
    a particular area. So long as the resident could attest that the signatures collected
    were within the city limits, that would satisfy the requirement.
                                                5
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verification does not burden Plaintiffs’ “core political speech,” Plaintiffs’ First

Amendment claim cannot succeed.

       B. The concurring and dissenting opinions in Buckley suggest the
          Supreme Court would uphold a residency restriction on ballot initiative
          circulators.

      Ten years after Meyer, the Supreme Court again considered a citizen petition

law in Buckley, 525 U.S. at 186. The Court in Buckley acknowledged that discerning

“valid ballot access provisions from invalid interactive speech restrictions” requires

courts to make “hard judgments,” but it reiterated that there is “no litmus paper test”

for that determination. Id. at 192. This time the challenged law required that

circulators be registered voters. Buckley assumed, without deciding, that a residency

requirement for circulators would be valid, and on that assumption, held that “the

added registration requirement is not warranted.” Id. at 197.

      In particular, the Court observed that because only 65% of eligible Colorado

voters were registered, the voter registration requirement excluded nearly a million

eligible voters from gathering signatures. Id. at 194, n.15. The Court concluded that

the exclusion of nearly a million eligible voters was a significant burden on the

proponents’ ability to collect signatures.

      Although a residency requirement was not before the Court in Buckley, at least

four justices would have upheld such a requirement. Justice Thomas’ concurrence

                                              6
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posits that states have not just a legitimate interest, but a “compelling interest in

ensuring that all circulators are residents.” Id. at 211 (Thomas, J. concurring). And

because the Colorado law excluded so many residents from participating in their

own political process, Justice Thomas agreed with the majority that the voter

registration requirement was not narrowly tailored to achieve that “compelling

interest in insuring that all circulators are residents.” Id.

       Justices O’Connor and Breyer, in a partial dissent, argued that as a neutral

qualification, the voter registration requirement only “incidentally and indirectly”

burdened the interactive communication of the petition process and therefore did not

violate the First Amendment. Id. at 218. Justice Rehnquist went even further in his

dissent. He criticized the majority for adopting a “highly abstract” test—whether a

ballot initiative restriction made a proposal less likely to appear on the ballot—that

calls into question the validity of any reasonable regulation of petition circulation.

Id. at 228. If these Justices agreed that a voter registration requirement was

permissible, then it follows that they would support a straight residency requirement.

       Thus, the position all the Justices had in Buckley is the opposite of Plaintiffs’

argument here. The Justices all agreed that a restriction that prevented residents from

engaging in their own community’s ballot initiative was unconstitutional. But



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Plaintiffs here want this Court to say the opposite: that preventing nonresidents from

participating in a political process that is not theirs, is unconstitutional.

          C. Residency requirements are legitimate restrictions on the right to
             participate in the political process.

          Plaintiffs’ claims also fail because “a government unit may legitimately

restrict the right to participate in its political process to those who reside within its

borders.” Holt, 439 U.S. at 68–69.

          The Plaintiffs here are residents of unincorporated DeKalb County who

oppose construction of the Atlanta public safety training center.4 Each Plaintiff lives,

or has recently lived, within four miles of the training center site, which is also

located in unincorporated DeKalb County.5 Having admittedly failed to “influenc[e]

the legislative process through public comment,”6 Plaintiffs now wish to participate

in the City’s ballot initiative process regarding the City’s ordinance and lease. But

the ballot initiative ordinance is a political process by which a city opts to (but does

not have to) give its residents the power to directly petition their city council to put



4
    Complaint at 1 [Dkt. 1]
5
    Id.
6
    Id., ¶ 17. It is noteworthy that the City could—but does not—prevent nonresidents
    from even offering public comment. Rowe v. City of Cocoa, 358 F.3d 800, 803 (11th
    Cir. 2004) (city council rule that limited public comments to residents and
    taxpayers did not violate the First or Fourteenth Amendments).
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a referendum on their ballot. Nonresidents simply do not have a constitutional right

to participate in that optional political process. Id.

         The Supreme Court’s decision in Holt is on all fours with this case. The

plaintiffs in Holt, like Plaintiffs here, were (1) residents of an unincorporated

community (2) who lived within three miles of the city limits, and (3) claimed they

had a constitutional right to participate in the municipality’s political process

because it affected them. Id. at 61–63. The Supreme Court disagreed.

        At issue in Holt was the municipality’s expansion of police jurisdiction three

miles into the unincorporated areas bordering the city limits.7 This expansion

subjected the unincorporated residents to the city’s criminal jurisdiction, sanitary,

regulations, and business licensing powers. But because the expansion of these

powers did not extend the city’s borders, the plaintiffs, being nonresidents, could not

vote in municipal elections. The Holt plaintiffs contended this “extraterritorial”

expansion of power required a concomitant extension of the right to vote under the

Due Process Clause. The Supreme Court disagreed. Id. at 66. In rejecting the

plaintiffs’ challenge, the Court reiterated its long-standing case law that “a




7
    Like the Atlanta ordinance, the expansion power in Holt was granted and governed
    by state statute.
                                                9
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government unit may legitimately restrict the right to participate in its political

processes to those who reside within its borders.” Id. at 68–69.

       Nor did it matter that the plaintiffs in Holt alleged there were uniquely affected

by these municipal actions. The Court observed that a city’s decisions often

“inescapably affect individuals living immediately outside its borders.” Id. at 69.

Indeed, “the granting of building permits for high rise apartments, industrial plants,

and the like…unavoidably contributes to problems of traffic congestion, school

districting, and law enforcement immediately outside the city,” and that the

“condemnation of real property on the city’s edge for construction of a municipal

garbage dump or waste treatment plant would have obvious implications for

neighboring nonresidents.” Id. Yet, “no one would suggest that nonresidents likely

to be affected by this sort of municipal action have a constitutional right to

participate in the political processes bringing it about.” Id.

       Plaintiffs’ complaint here mirrors the complaints in Holt: they believe they

have a right to participate in the City of Atlanta’s political process because they are

affected by the City’s extraterritorial actions. But Plaintiffs here can fare no better

than those in Holt. Plaintiffs’ proximity to the training center site, even if that site is

outside the city limits, does not confer a unique constitutional right to participate in

the City’s political process.

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          D. Plaintiffs’ circuit court cases do not control the outcome here.

         As discussed above, the U.S. Supreme Court cases Meyer and Buckley are the

only controlling precedent here, and neither prohibits a residency requirement for

signature collection. Not only is this Court not bound by Plaintiffs’ circuit court

cases, but each is either distinguishable or unpersuasive, or both.

         First, six of the eight cases Plaintiffs cite do not mention Holt at all.8 They do

not consider or discuss the Supreme Court’s long-standing case law that “a

government unit may legitimately restrict the right to participate in its political

processes to those who reside within its borders.” Holt, 439 U.S. at 68–69. Holt is

binding precedent, and its omission from these cases undermines their analysis and

conclusions. Second, three of the cases are about a requirement that residents

personally witness the signatures—a requirement that is not in the Atlanta ordinance

or state law.9 And third, two of the of the cases are voter-registration restrictions, not

residency restrictions.10


8
    Leman v. Bd. of Election, 232 F.3d 135 (2d Cir. 2000); Libertarian Party of Va. v.
    Judd, 718 F.3d 308 (4th Cir. 2013); Pool v. City of Houston, 978 F.3d 307 (5th Cir.
    2020); Nader v. Blackwell, 545 F.3d 459 (6th Cir. 2008); Pierce v. Jacobsen, 44
    F.4th 853 (9th Cir. 2022); Yes on Term Limits, Inc. v. Savage, 550 F.3d 1023 (10th
    Cir. 2008).
9
    Leman, 232 F.3d at 139; Libertarian Party of Va., 718 F.3d at 311; Nader, 545 F.3d
    at 463.
10
     Pool, 978 F.3d at 309; Krislov v. Rednour, 226 F.3d 851 (7th Cir. 2000).
                                                11
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      This leaves only one case that both aligns with the facts of this case and

acknowledges Holt’s directive that governments may restrict their political processes

to their residents, We the People PAC v. Bellows, 40 F.4th 1 (1st Cir. 2022). But the

court in Bellows dismissed the application of Holt summarily, concluding, without

discussion, that Holt was limited to voting rights and that circulating official

petitions for a ballot initiative was not a “political process” to which residency

restrictions could apply. But there is no reason to construe Holt so narrowly. In fact,

Buckley itself suggests the opposite conclusion: “States allowing ballot initiatives

have considerable leeway to protect the integrity and reliability of the initiative

process, as they have with respect to election processes generally.” Buckley, 525 U.S.

at 191. Buckley thus suggests that, for Constitutional purposes, ballot initiatives are

just as much a part of the “political process” as voting in elections.

      Nor does Bellows make sense when placed alongside public comment cases

from the Eleventh Circuit, like Rowe v. City of Cocoa, 358 F.3d at 803. If a city can

limit public comment at city council meetings to residents, and cities can limit voting

to residents, surely cities can also limit the ballot initiative petition process—

indisputably a part of the “political process”—to residents. The residency

requirement is thus a reasonable restriction on participation in the political process

of the kind the Eleventh Circuit has held the City may constitutionally impose.

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       There is no Eleventh Circuit case addressing petition circulation, and thus this

Court is bound only by the decisions of the U.S. Supreme Court. Although no

Supreme Court case is directly on point, taken together Meyer and Buckley support

the constitutionality of Georgia and Atlanta’s residency requirement for petition

verifications.

II.   Because the referendum proposed in the ballot initiative is invalid,
      Plaintiffs cannot show an irreparable injury that warrants preliminary
      relief.

       The proposed referendum here is invalid on two grounds. First, the Georgia

Supreme Court has held that O.C.G.A. § 35-36-3 does not authorize referendums to

repeal city ordinances. Second, because the petition’s objective is to repeal an

ordinance authorizing the City to enter a lease agreement—an authorization that has

already been used—the proposed referendum would not invalidate the lease ex post

facto. Nor could the referendum invalidate the lease, lest it violate the constitutional

prohibition on impairment of contracts. Because the referendum is invalid, and

therefore cannot get on the ballot, Plaintiffs do not have an irreparable injury as to

this referendum that warrants preliminary injunctive relief.

       A. In Kemp v. City of Claxton, the Georgia Supreme Court held there is
          no statutory authority for the referendum Plaintiffs seek to support.

       The Municipal Home Rule Act of 1965 (“the Act”) governs municipal ballot

initiative petitions. O.C.G.A. § 35-36-3. In 1998, the Georgia Supreme Court

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unanimously held that the Act permits citizen referendums only to amend city

charters. Kemp v. City of Claxton, 269 Ga. 173 (1998). Because the petition here

seeks to repeal a City ordinance unrelated to the City’s charter, it is void on its face.11

       In Kemp, the plaintiffs sought to use the Act’s petition and referendum process

to repeal the City of Claxton’s legislative consent to the closure of certain railroad

crossings. Id. at 173–74. The Georgia Supreme Court examined the Act and its

history and concluded that because the Act’s “primary purpose…was to authorize

municipalities to amend their charters by their own actions,” the Act’s “petition and

referendum provision is intended to be available only when the proposed amendment

is intended to affect a city charter.” Id. at 175–76 (emphasis added). The Act was

not, in other words, intended to be a broad and fulsome experiment in direct

democracy unseen in Georgia history, before or since.

      The petition and referendum process set out in the Act thus gives a

municipality’s voters only the opportunity to weigh in on charter changes, not a right

to wield broad legislative power by amending or repealing “all ordinances and

resolutions.” Id. at 176. The Supreme Court held that the Kemp plaintiffs’

construction of the Act as permitting citizen-led repeal of any and all ordinances or


11
  See Complaint at 1–2, ¶¶ 38, 42–43 [Dkt. 1]; City of Atlanta Ordinance 21-O-0367
 (authorizing the building of the Atlanta Public Safety Training Center).
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resolutions was (a) inconsistent with the Act’s text and (b) would amount to an

unintended delegation of the “General Assembly’s legislative power.” Id. The Court

unanimously “reject[ed] plaintiffs’ argument that the electorate can directly exercise

such general legislative power,” and held that “[t]he petition procedure of O.C.G.A.

§ 36-35-3(b)(2) applies only to amendments to municipal charters.” Id. Thus, the

Court concluded, the petitions were nullities. Id. Because the petition here similarly

seeks to repeal an ordinance unrelated to an amendment to the City’s charter, it is

also unlawful.12

         Plaintiffs will undoubtedly direct the Court to the recent Georgia Supreme

Court opinion Camden County v. Sweatt, 315 Ga. 498 (2023). In Camden County,

the Court examined whether the Georgia Constitution’s county home rule powers

provisions authorized a petition and referendum process to repeal county ordinances

related to an unexecuted option contract for purchasing land on which to construct a

rocket launch facility. Id. at 498–99; see also Ga. Const. Art. IX, § II, ¶ I. Ultimately,

the Supreme Court concluded that those constitutional provisions authorized the

petition and referendum sought by Camden County electors to repeal the land

purchase option contract—an option contract that, as far as the record shows, was



12
     See, e.g., Complaint ¶¶ 7–8.
                                               15
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never consummated or otherwise acted upon, except to legislatively extend the

option period. Camden County, 315 Ga. at 511.

      The Camden County court acknowledged that its holding was “in tension with

Kemp” because the Municipal Home Rule Act “contains a provision somewhat

similar to” the constitutional provision regarding counties applicable in Camden

County. Id. But ultimately, the Court decided that because the municipal home rule

statute and the county home rule constitutional provisions are “completely separate

legal provision[s], the holding in Kemp does not control” how the Constitution’s

county-only provisions should be construed. Id. at 512. Indeed, Camden County

expressly did not “consider at this time whether Kemp should be overruled.” Id. at

512–13

      Someday, the Georgia Supreme Court may reassess Kemp, although there are

important differences between the two “somewhat similar” home rule provisions,

including the fact that one is constitutionally inscribed, and the other is statutory. Id.

at 511. Today, however, Kemp is still good law. Unless and until the Supreme Court

decides to jettison or modify it, Kemp is binding on all courts seeking to apply

Georgia law, including this one. See World Harvest Church, Inc. v. GuideOne Mut.

Ins. Co., 586 F.3d 950, 957 (11th Cir. 2009). Accord Rodriguez de Quijas v.

Shearson/Am. Exp., Inc., 490 U.S. 477, 484 (1989) (“We do not suggest that the

                                               16
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Court of Appeals on its own authority should have taken the step of renouncing

Wilko. If a precedent of this Court has direct application in a case, yet appears to rest

on reasons rejected in some other line of decisions, the Court of Appeals should

follow the case which directly controls, leaving to this Court the prerogative of

overruling its own decisions.”).

      As long as Kemp is the law, Plaintiffs lack standing to assert an Article III

injury here, as state law makes the petition and referendum they seek to support a

nullity. See Davidson v. Dawson, Case No. 1:04-cv-00612-RCT, 2006 WL 8446151,

at *3–4 (D. Idaho May 18, 2006) (holding that plaintiff lacked standing to challenge

a residency restriction on a ballot petition where the petition was precluded by state

law—“because Hailey did not have the power or authority to enact Plaintiff’s

proposed ordinance, no injury has resulted from Defendant’s denial of his initiative

petition. Plaintiff also cannot show that his alleged injury would be redressed by a

favorable decision.”). Plaintiffs cannot get preliminary injunctive relief when state

law will void their referendum effort on other grounds that they have not challenged.

       B. The proposed referendum is futile and/or invalid because it violates the
          constitutional prohibition on the impairment of contracts.

      The petition currently being circulated seeks a referendum to repeal a 2021

City of Atlanta ordinance which authorized then-Atlanta Mayor Keisha Lance

Bottoms to execute a lease of City property to the Atlanta Police Foundation for
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construction of the Training Center.13 The Mayor executed this lease on October 12,

2021, and the Police Foundation has proceeded with construction.

        Plaintiffs’ desired referendum is futile because it seeks only to revoke the

authorization to enter the lease. Because that authorization has already been used,

and the leased signed, revoking the authorizing ordinance does not, ex post facto,

undo the lease agreement itself. Repeal of a years’ old ordinance cannot retroactively

revoke authorization to do something that has already been done.

          But even if the referendum could claim to result in a revocation or

cancellation of the lease, it would still be invalid because it would amount to an

impermissible impairment of that contract. See U.S. Const. art. I, § 10, cl. 1; Ga.

Const. art. I, § I, ¶ X; U.S. Trust Co. of N.Y. v. New Jersey, 431 U.S. 1, 9–14 (1977);

City of Owensboro v. Cumberland Tel. & Tel. Co., 230 U.S. 58, 66, 72–74 (1913)

(repeal of an ordinance granting a franchise to use municipal property invalid

impairment of contract); City of Cleveland v. Cleveland City RR Co., 194 U.S. 517,

534–38 (1904); Jonesboro Area Athletic Ass’n. v. Dickson, 227 Ga. 513, 519–20

(1971) (city bound by lease, and cannot later unilaterally cancel it).




13
     Complaint ¶¶ 7–8.
                                             18
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      Because the proposed referendum here is invalid and/or a nullity, it cannot be

placed on the ballot. Given the futility of the petition—and thus the signature

collection efforts—Plaintiffs cannot show an irreparable injury that warrants

preliminary relief.

III. The City’s interest in ensuring the integrity of its political process
     outweighs Plaintiffs’ alleged injury.

      The balance of equities and the public interest “merge when, as here, the

Government is the opposing party.” Swain v. Junior, 961 F.3d 1276, 1293 (11th Cir.

2020) (quotation omitted). Neither the equities nor the public interest would be

served by the injunction Plaintiffs request. The City has “a compelling interest in

preserving the integrity of its election process.” League of Women Voters of Fla., Inc.

v. Fla. Sec’y of State, 32 F.4th 1363, 1371–72 (11th Cir. 2020) (quotation omitted).

Indeed, the injunction Plaintiffs request will undermine the City’s “interests in

conducting an efficient election, maintaining order, quickly certifying election

results, and preventing voter fraud.” New Ga. Project v. Raffensberger, 976 F.3d

1278, 1284 (11th Cir. 2020). “[T]he purpose of a preliminary injunction is merely to

preserve the relative positions of the parties until a trial on the merits can be held.”

Benisek v. Lamone, 138 S. Ct. 1942, 1945 (2018). Plaintiffs would have the Court

disrupt the signature-collecting process, not preserve the status quo.



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       Moreover, Plaintiff’s request is untimely and would disrupt a process that is

already well underway. The injunction would thus violate “what has come to be

called the Purcell principle,” which “teaches that federal district courts ordinarily

should not enjoin state election laws in the period close to an election.” League of

Women Voters of Fla., Inc., 32 F.4th at 1370–71 (quotation omitted). Twenty-three

days of the sixty-day period for gathering signatures have already elapsed. See

Atlanta Code § 66-37(b). Fully half the period will have passed by the time Plaintiffs

file their reply. The Purcell principle counsels against changing the rules midway

through this process.

      This is particularly true of Plaintiffs’ request to restart the sixty-day clock for

gathering signatures. Plaintiffs do not argue that this restriction impinges on the First

Amendment. “Extending the date by which” signatures must be submitted

“fundamentally alters the nature of the” petition process. Republican Nat’l

Committee v. Democratic Nat’l Committee, 140 S. Ct. 1205, 1207 (2020). The City

has an indisputable interest in administering the petition process according to the

rules spelled out in the Home Rule Act and the ballot initiative ordinance; changing

them now would harm the public interest in a prompt and fair process.




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IV. If this Court finds the residency requirement unconstitutional, the remedy
    is to strike down the petition ordinance in its entirety.

      If the Court finds the residency requirement unconstitutional—which it should

not, as set out above—then the correct remedy is to enjoin the petition process in its

entirety, not to sever and strike the residency requirement and extend the statutorily

prescribed ballot collection period, as Plaintiffs request. This is true of both the

Municipal Home Rule Act, O.C.G.A. § 36-35-3(b), and the ordinance, Atlanta City

Code, § 66-37, which are substantively identical.

      “Severability is of course a matter of state law.” Leavitt v. Jane L., 518 U.S.

137, 139 (1996). In Georgia, a court cannot sever the unconstitutional part of a law

if severance “would result in a statute that fails to correspond to the main legislative

purpose, or give effect to that purpose.” DaimlerChrysler v. Ferrante, 281 Ga. 273,

275 (2006) (quotation omitted). Rather, if “the objectionable part is so connected

with the general scope of the statute that, should it be stricken out, effect cannot be

given to the legislative intent, the rest of the statute must fall with it.” Id. at 274–75.

By these standards, this Court cannot sever the residency requirement from the

remainder of the petition process; they rise or fall together.

      A Georgia municipality “has no inherent power; it may only exercise power

to the extent it has been delegated authority by the state. A municipality’s allocations

of power from the state must be strictly construed.” H.G. Brown Family Ltd. P’ship
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v. City of Villa Rica, 278 Ga. 819, 819–20 (2005) (citations omitted). The residency

requirement comes directly from O.C.G.A. § 36-35-3(b), which “is a delegation of

the General Assembly’s legislative power to the municipalities.” Kemp, 269 Ga. at

176; see also Ga. Const. art. 9, § 2, ¶ II. In delegating this power, the General

Assembly gave municipalities no flexibility to adopt other or different requirements

than the ones the legislature spelled out. While the State does not have to delegate

any legislative power to cities, when it does so, those powers must be strictly adhered

to, including their restrictions. See H.G. Brown Family, 278 Ga. at 819–20.

      As noted, the Home Rule Act imposes only two restrictions on signature

collection: signatories must have been registered to vote in the last municipal

election, and a City resident must attest that signatures were collected inside the City

limits. See O.C.G.A. § 36-35-3(b)(2)(C). Thus, Plaintiffs are asking this Court to

strike down half of the accountability measures the General Assembly included in

its ballot initiative authorization. If the General Assembly itself declined to give

cities the option to skip the residency requirement—one of only two in the statute—

that requirement must be material to the delegation of this legislative power in the

first instance. Severing the residency verification requirement would fundamentally

change the municipal ballot initiative process the General Assembly designed, and



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this Court should not judicially create a process that the legislature declined to give

the City the power to enact.

      Finally, reinforcing this conclusion, the Municipal Home Rule Act does not

contain a severability clause. A “severability clause in an act reverses the usual

presumption that the legislature intends the act to be an entirety.” City Council of

Augusta v. Mangelly, 243 Ga. 358, 363 (1979). The reverse is also true. Absent a

severability clause, the Court must apply the “usual presumption” that the residency

requirement forms part of the “entirety” of the Home Rule Act. Id. Here, the

presumption also accords with the limited delegation the General Assembly made.

      In short, the General Assembly’s goal in enacting the petition process was to

allow cities to amend their own charters—but only on the General Assembly’s

narrow terms. It expressly did not intend allow nonresidents of a municipality to be

involved in exercising its delegated power to amend city charters. The Court should

thus enjoin the petition process if it finds the residency requirement unconstitutional.

                                   CONCLUSION

      For these reasons, the Court should deny Plaintiffs’ Motion for a Preliminary

Injunction.

      This 14th day of July, 2023.



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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in compliance

with N.D. Ga. L.R. 5.1B. This document has been prepared in Times New Roman

14-point font.

      This 14th day of July, 2023.

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                         CERTIFICATE OF SERVICE

      I certify that I have served the foregoing DEFENDANT CITY OF

ATLANTA’S RESPONSE TO MOTION FOR PRELIMINARY INJUNCTION by

filing the same via the CM/ECF system which will electronically perfect service on

all counsel of record.

      This 14th day of July, 2023.


                                            /s/ Robert L. Ashe III
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